                  Case: 1:18-cv-05369 Document #: 12 Filed: 08/28/18 Page 1 of 3 PageID #:498
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
UBIQUITI NETWORKS, INC.

                                                                 CASE NUMBER:       1:18-CV-05369
                                V.                               ASSIGNED JUDGE:
                                                                                    Honorable Gary Feinerman
 CAMBIUM NETWORKS, INC.; CAMBIUM NETWORKS,
 LTD.; BLIP NETWORKS, LLC; WINNCOM                               DESIGNATED
 TECHNOLOGIES, INC.; SAKID AHMED; AND DIMITRY                    MAGISTRATE JUDGE: Honorable Michael T. Mason
 MOISEEV


                    TO: (Name and address of Defendant)
       Sakid Ahmed
       2209 W. Ohio St.
       Chicago, IL 60612-1519



          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)
                 Elizabeth B. Herrington
                 Morgan, Lewis & Bockius LLP
                 77 W. Wacker Drive
                 Chicago, IL 60601
                 (312) 324-1000


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK
                          RK

                                                                                    August 10, 2018
                                                                                    Augus
     (By) DEPUTY CLERK                                                              DATE
           Case: 1:18-cv-05369 Document #: 12 Filed: 08/28/18 Page 2 of 3 PageID #:499
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)
NAME OF SERVER (PRINT)                                                                  TITLE


   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




          G Other (specify):




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                      TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on
                                        Date                    Signature of Server




                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
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